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                                                                                       FILED IN OFFICE


                       IN THE SUPERIOR COURT OF FULTON COUNTY
                                   STATE OF GEORGIA



 rN RE 2 MAY 2022 SPECIAL PURPOSE                    2022-EX-000024
 GRAND JURY



                                              RULE NISI

        PLEASE TAKE NOTICE that a hearing on the Motion to Quash Subpoena Issued to Governor

Brian P. Kemp is set before Judge Robert C.l. McBurney on the 25th day of August 2022, at I 0:30 a.m., in

Courtroom 8-D.

        SO ORDERED this 18th day of August 2022.



                                                        Judge Ro                 rney
                                                        Superior Court of Fulton County
                                                        Atlanta Judicial Circuit
